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IN THE UNITED STATES DISTRICT COURT FOR THE
CLERK'S OFFICE U.S. DIST. COURT

 
     

WESTERN DISTRICT OF VIRGINIA AT OAR
Charlottesville Division SEP 16 202}
Elizabeth Sines, et al [ JULIA C, DUDLEY, CLERK
Plaintiffs r "
v Case No: 3:17-cv-072-
Jason Kessler, et al [
Defendants

MOTION IN LIMINE FOR A DETERMINATION THAT SIMPLE ASSAULT,
SIMPLE BATTERY, AND/OR, ANY OTHER ACT INCAPABLE OF CAUSING BODILY
HARM BUT INVOLVING THE USE OF FORCE IS NOT A “SADGE OR INCIDENT OF
SLAVERY" PROSCRIBED BY US CONST AMEND XIII

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Comes now the Defendant, Christopher Cantwell, and he hereby Moves this
Court for a Determination In Limine That Simple Assault, Simple Battery,
And/Or, Any Otrher Act Incapable Of Causing Bodily Harm But Involving The
Use of Force Is Not a “Radge Or Incident Of Slavery" Procribed by US

Const Amend XIII. In support, he states as follows;

1) Cantwell. has previously briefed this Court in his Motion in Limine For
A Determination That Bias Against Those Who Identify As "Jews" Is
Not A Form Of “Class Based Invidiously Discriminatory Animus" Pro-
hibited By 42 USC §1983(3), Plaintiffs are proceeding in this action
under a theory that Cantwell and his co-defendants conspired to impose
the "badges and incidents of slavery" upon them in violation of US.

Const Amend XIII.

2) US Const Amend XIII gives Congress the power to abolish ail “badges
and incidents” of slavery. Jones v Alfred H Mayer Co 392 US 409
(1968). These "badges and incidents" include racial violence direct-

ed against Negroes; in passing the original.of 42 USC §1985(3) in

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3)

4)

Congress specifically found that "arson, robbery, whippings, shoot-
ings, Cand] murder" and "murder, manslaughter, mayhem, robbery, as-
sault and battery, perjury, subornation of perjury, criminal ob~
struction of legal process or resistance of officers in discharge
of official duty, arson, or larceny” were among the badges and in-
cidents of slavery that it intended to prohibit. Briscoe v LaHue
466 US 325 (1983) citing Cong Globe 42d Cong ist Sess 236, 244, 317
(1871). And, this was reaffirmed as recently as 2009, when Congress
passed the Matthew Shepard and James Byrd Jr Hate Crimes Prevention
Act of 2009, Oct 28, 2009, PL 111-84 Div E, 123 Stat 2190, stating
that, “eliminating racially motivated violence is an important
means of eliminating to the extent possible the badges, incidents
and relics of slavery and involuntary servitude.” cited in United

States v Roof 225 F Supp 438 (D SC 2016).

The Supreme Court began defining what the term “violence” means when
used’in law when it decided Leocal v Ashcroft 543 US 1 (2004), in
which it had to decide whether or not drunk driving involved the

"use of violence”. In so doing, the Court found that "violence" means
“the use ... physical‘force against the person or property of anoth-

er." Then, in 2010, in Johnson v United States 559 US 133 (2010),

 

the Supreme Court clarified what “use of physical force" means. There,
the Supreme Court specifically rejected the idea that simpte battery
was a form of "violence" as contemplated under federal law, noting
that "the lightest offensive touching" could constitute a battery,
while "‘physica? force' means violent force -- that is, force capable
of causing pain and injury to another person. see, Flores v Ashcroft

350 F 3d 666 (7th Cir 2003)". Johnson.

Statutes are read noscitur a sociis, and, that means that when "sey-

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eral items in a list share an attribute [this] counsels in favor
of the other items as possessing that attribute as well." Beecham

v United States 511 US 368 (1994). Here, then, in 1871, Congress
gave a list of acts that it thought could constitute violations of
US Const Amend XIII for purposes of 42 USC §1985(3). While “assault
and battery" appears on that list, it is in the company of crimes
like arson, murder, and, robbery, all felonies. From this, as in
Johnson, and, given the continuing use of the term "violence" and
not "force" as Congressional examples of the "badges and incidents
of stavery", this Court should conclude that-to violate:someone's
rights under US Const Amend XIII, one must use physical force con-
stituting violence or a violent felony, and, not the mere offensive
touching that is the hallmark of simple assault and battery. Read
particularly in the. context of the concern that 42 USC §1985(3)

not become a general tort statute, highlighted in Griffin v Brecken-
ridge 403 US 88 (1971), United Brotherhood of Carpenters and Joiners

of America v Scott 463 US 825 (1983), and, similar decisions, the

 

fact that there are alternate remedies at state Taw, including an

action for assault under common law, for such torts, this construct-

ion of 42 USC §1985(3) most accurately reflects Congressional intent.

Thus, for good cause shown, Cantwell asks that this Court rule in limine
that simple assault, simple battery, and/or, any other act incapable of
causing bodily harm but involving the use of force is not a "badge or

incident of slavery" proscribed by US Const Amend XIII.

Respectfully Submitted,

Co lay eoe

Christopher Cantweti
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CERTIFICATE OF SERVICE

LT, Christopher Cantweil, do hereby certify that this Motion in Limine
was mailed to the Clerk of the Court, Ist Class Postage Prepaid, for
posting on the ECF to which all other parties are subscribed, and,

was handed to Nathan Simpkins and/or Kathy Hill for electronic transfer

to the Court, this 14th day of September, 2021.

Cf

Christopher Cantwell

 
